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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 19-248V
                                        (not to be published)


    RO ROHLFS,
                                                                Chief Special Master Corcoran
                         Petitioner,
    v.                                                          Filed: June 23, 2022


    SECRETARY OF HEALTH AND                                     Special Processing Unit                 (SPU);
    HUMAN SERVICES,                                             Attorney’s Fees and Costs


                         Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Ryan Daniel Pyles, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

        On February 13, 2019, Ro Rohlfs filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration as a result of an influenza vaccine administered on September 13, 2016.
(Petition at 1). On October 19, 2021, a decision was issued awarding compensation to
Petitioner based on the parties’ stipulation. (ECF No. 38).


1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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       Petitioner has now filed a motion for attorney’s fees and costs, dated May 2, 2022,
(ECF No. 44), requesting a total award of $31,083.30 (representing $28,755.10 in fees
and $2,328.20 in costs). In accordance with General Order No. 9, counsel for Petitioner
represents that Petitioner incurred out of pocket expenses in the amount of $8.75. (Id. at
1-2). Respondent reacted to the motion on May 5, 2022, indicating that he is satisfied the
statutory requirements for an award of attorneys’ fees and costs are met in this case,
deferring resolution of the amount to be awarded to my discretion. (ECF No. 45). On May
6, 2022, Petitioner filed a reply requesting the fees and costs be awarded in full. (ECF
No. 46).

      I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. Section
15(e). Accordingly, petitioner is awarded the total amount of $31,092.05 3 as follows:

            •    A lump sum of $31,083.30, representing reimbursement for fees and
                 costs, in the form of a check payable jointly to Petitioner and
                 Petitioner’s counsel and;

            •    A lump sum of $8.75, representing reimbursement for Petitioner’s
                 costs, in the form of a check payable to Petitioner.

      In the absence of a timely-filed motion for review (see Appendix B to the Rules of
the Court), the Clerk shall enter judgment in accordance with this decision. 4

IT IS SO ORDERED.

                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master


3 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all

charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
4 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                    2
